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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No.: 1:21-cr-00670-CJN-1
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,            :
                                     :
            Defendant.               :
____________________________________:

                               NOTICE OF APPEARANCE

       Please enter the appearance of M. Evan Corcoran of Silverman, Thompson, Slutkin, &

White, LLC as counsel for Defendant Stephen K. Bannon in the above-referenced matter.

Dated: November 15, 2021                  Respectfully submitted,

                                          SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)
                                          210 N. Charles Street, 26th Floor
                                          Baltimore, MD 21201
                                          Telephone: (410) 385-2225
                                          Facsimile: (410) 547-2432
                                          Email: ecorcoran@silvermanthompson.com

                                          Counsel for Defendant
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of November 2021, a copy of the foregoing

Notice of Appearance was served via the Court’s CM/ECF system on all properly registered

parties and counsel.

                                                /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)




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